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                  UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                          RALEIGH DIVISION
  IN RE:

  YEHIA S. HUSSEIN,
                                              CASE NO. 25-00113-5-PWM
                                              CHAPTER 11
                             DEBTOR.

  YEHIA S. HUSSEIN,

                              Plaintiff,

                   vs.                        ADV. PRO. NO. ____________

   L&W SUPPLY CORPORATION

                            Defendant.


   COMPLAINT TO DETERMINE VALIDITY, PRIORITY, AND EXTENT OF
                           LIENS

       NOW COMES Yehia S. Hussein (“Plaintiff” or “Debtor”), by and through

 undersigned counsel, and complaining of the Defendant, and alleges and says:

                      IDENTIFICATION OF THE PARTIES

       1.     On January 11, 2025, Plaintiff filed his voluntary petition for relief

 under Chapter 11, Subchapter V, of the Bankruptcy Code, commencing the above

 captioned bankruptcy case. George M. Oliver, III was appointed as the Subchapter

 V trustee.

       2.     Plaintiff is an individual and resident of Wake County, North Carolina.

       3.     Defendant L&W Supply Corporation (“Defendant”), upon information

 and belief, is a Delaware corporation, authorized to do business in North Carolina,
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 with a registered mailing address of 2626 Glenwood Avenue, Suite 550, Raleigh, NC

 27608.

       4.     The Debtor is the sole shareholder of Tri-City Services, Inc. (“Tri-City”).

                            JURISDICTION AND VENUE

       5.     This Court has subject matter jurisdiction over this matter pursuant to

 28 U.S.C. §§ 157 and 1334(b).

       6.     This Adversary Proceeding constitutes a core proceeding by virtue of 28

 U.S.C. § §157(b)(2)(H).

       7.     Venue is proper in this Bankruptcy Court as to the Debtor under 28

 U.S.C. §§ 1408 and 1409, as all of the actions complained of and giving rise to the

 claims alleged herein arose in this judicial district.

                 FACTUAL BACKGROUND AND ALLEGATIONS

       8.     The Debtor and his non-filing spouse Moshira Hussein own certain real

 property located at 105 Blue Granite Drive, Holly Springs, North Carolina (the

 “Property”) as tenants by the entireties.

       9.     The Property is encumbered by a first priority lien currently serviced by

 RoundPoint Mortgage Servicing, LLC.

       10.    Tri-City purchased materials from Defendant.

       11.    After falling behind in payments on the account, the Debtor, Tri-City,

 and Defendant reached an agreement to enter into a payment plan. This payment

 plan was set forth in a Settlement Agreement, whereby the Debtor and Tri-City would

 make payments to Defendant over a period of four months, execute a confession of
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 judgment, and execute a second priority deed of trust on the Property.

       12.    Upon information and belief, the Settlement Agreement was drafted by

 Defendant or Defendant’s counsel.

       13.    Plaintiff and Tri-City were not represented by counsel at this time.

       14.    The last page of the Settlement Agreement says it is executed “this ___

 day of November, 2023.” No day of the month was filled in the blank. The Settlement

 Agreement contains no other dates. A copy of the Settlement Agreement is attached

 hereto as Exhibit A.

       15.    The Debtor is not in possession of a copy of the Settlement Agreement

 signed by Tri-City or the Debtor’s spouse.

       16.    The Debtor and Tri-City also executed a Confession of Judgment, which

 was to be held and only recorded in the event of a default in payments due under the

 Settlement Agreement. According to the dates and notary block in the Confession of

 Judgment, the Debtor signed it on January 18, 2024 and on November 18, 2023. The

 notary block states that the Debtor executed the Confession of Judgment on behalf of

 Tri-City on January 18, 2024. A copy of the Confession of Judgment is attached hereto

 as Exhibit B.

       17.    The Debtor’s spouse did not execute the Confession of Judgment.

       18.    Tri-City also executed a Commercial Security Agreement dated

 November 27, 2023. A copy of this Commercial Security Agreement is attached hereto

 as Exhibit C.

       19.    The Commercial Security Agreement states that it secures all
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 obligations of Tri-City however created, but does not reference a specific obligation.

 The Debtor did not execute the Commercial Security Agreement.

       20.    On or about January 31, 2024, a North Carolina Deed Of Trust (the

 “Deed of Trust”) was recorded in Book 019529, Page 01424 of the Wake County

 Registry, purporting to encumber the Property. A copy of the Deed of Trust attached

 hereto as Exhibit D.

       21.    The Deed of Trust states that “Grantor is indebted to the Beneficiary in

 the principal sum of Eight Hundred Two Thousand Four Hundred Eighty and 24/100

 ($802,480.20) Dollars, as evidenced by a Settlement Agreement of even date

 herewith, the terms of which are incorporated by reference.”

       22.    The Deed of Trust reflects that it is made “this _____ day of December,

 2023.” No day of the month was filled in the blank recorded with the Wake County

 Registry.

       23.    According to the notary block, the Deed of Trust was signed by the

 Debtor and his spouse on January 18, 2024.

       24.    No other reference is made in the Deed of Trust to the Settlement

 Agreement. Instead, the Deed of Trust repeatedly refers to a “Note” when referencing

 the debt secured by the Deed of Trust.

       25.    The Deed of Trust does not contain any other information identifying

 the debt secured.

       26.    On or about May 8, 2024, the Confession of Judgment was recorded

 against the Debtor and Tri-City in Wake County Superior Court, Case Number
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 24CV014270-910.

        27.   On or about August 2, 2024, Defendant, through the substitute trustee,

 commenced a foreclosure proceeding in Wake County, Case Number 24SP001662-

 910.

        28.   On or about September 23, 2024, an Affidavit of Petitioner was filed by

 Defendant in the foreclosure action. In this Affidavit of Petitioner, Defendant

 referenced being the holder of a “Consent Judgment” and Deed of Trust, copies of

 which were attached to the Affidavit of Petitioner. The Confession of Judgment

 (despite being referred to as a Consent Judgment) and Deed of Trust were both

 attached to the Affidavit of Petitioner.    A copy of this Affidavit of Petitioner is

 attached hereto as Exhibit E.

        29.   The Affidavit of Petitioner refers to a “Note” in various places instead of

 the Consent Judgment or Confession of Judgment.

        30.   The Settlement Agreement was not referenced in the Affidavit of

 Petitioner, nor was it otherwise filed in the foreclosure proceeding.

        31.   Upon information and belief, no Settlement Agreement dated “the ____

 day of December, 2023” exists.

        32.   Upon information and belief, no promissory note or other debt

 instrument was executed by the Debtor dated “the ____ day of December, 2023” or in

 December 2023.

        33.   Upon information and belief, Defendant claims that it has a security

 interest and lien upon the Property as a result of the Deed of Trust.
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          34.   Pursuant to 11 U.S.C. § 544, the lien of the Defendant under the Deed

 of Trust is unenforceable against the Debtor-in-Possession, and should be avoided on

 the grounds that said lien was not valid or properly perfected prior to the bankruptcy

 petition filing.

          WHEREFORE, the Plaintiff respectfully prays of the Court as follows:

          1.    That the Court issue an Order stating that Defendant has no valid lien

 against the Property arising out of or relating to the claim described in the Deed of

 Trust;

          2.    That the Court issue an Order directing cancellation of the deed of trust

 on the public record;

          3.    That the costs of this action be taxed against the Defendant; and

          4.    For such other and further relief as this Court deems just and proper

 under the circumstances.

          This the 4th day of February, 2025.


                                                 s/Laurie B. Biggs
                                                 LAURIE B. BIGGS
                                                 N.C. State Bar No. 31845
                                                 lbiggs@biggslawnc.com
                                                 Joseph A. Bledsoe, III
                                                 N.C. State Bar No. 19817
                                                 jbledsoe@biggslawnc.com
                                                 Biggs Law Firm, PLLC
                                                 9208 Falls of Neuse Road, Suite 120
                                                 Raleigh, NC 27615
                                                 (919) 375-8040
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                               EXHIBIT A
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                                         EXHIBIT B
   STATE OF NORTH CAROLINA FILED                        IN THE GENERAL COURT OF JUSTICE
                                     DATE: May 16,2024       SUPERIOR COURT DIVISION
   COUNTY OF WAKE                    TIME:2:32: 52 PM             24CV014270-910
                                     WAKE COUNTY
   L&W Supply Corporation,           CLERK OF SUPERIOR COURT
                                     BY: M. Brann
          Plaintiff,                                        ENTRY OF CONFESSION OF
                                                                  JUDGMENT


   Tri-City Service, LLC and Yehia Shaaban
   Ahmed Hussein aka Yehia Hussein,

          Defendants.



         IT IS ORDERED, ADJUDGED, AND DECREED that, based upon the Confession of

  Judgment filed and entered into the Court's records on May 8, 2024 and attached hereto as Exhibit

  A, Plaintiff is hereby granted judgment against Defendants Tri-City Service, LLC and Yehia

  Shaaban Ahmed Hussein aka Yehia Hussein, jointly and severally, in the amount of Eight Hundred

  Two Thousand Four Hundred Eighty and 24/100 ($802,480.24) Dollars pursuant to North Carolina

  Rule of Civil Procedure 68.1(d).


         IT IS SO ORDERED.




         This              day of      5/16/2024        .2024.




                                              Clerk of Superior Court




                                                    1
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                                                                          24CV014270-910


    STATE OF NORTH CAROLINA                                      IN THE GENERAL COURT OF JUSTICE
                                                             )
    COUNTY OF WAKE                                                   DISTRICT COURT DIVISION
                                                             )

    L&W Supply Corporation,


                     Plaintiff,                                    CONFESSION OF JUDGMENT
                                                             )



                                                             )
          v.

   Tri-City Service, LLC and Yehia Shaaban
   Ahmed Hussein aka Yehia Hussein,                          )
                                                             )

          Defendants.




          WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia
   Hussein are legally obligated and indebted, jointly and severally, to L&W Supply Corporation
   ("Plaintiff") in the sum of Eight Hundred Two Thousand Four Hundred Eighty and 24/100
   ($802,480.24) Dollars;
          WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia

   Hussein, have agreed to confess judgment, jointly and severally, to Plaintiff in the sum of Eight

   Hundred Two Thousand Four Hundred Eighty and 24/100 ($802,480.24) Dollars; and

           WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia
   Hussein further authorize Plaintiff to enter and file this Confession of Judgment in the Office of
   the Clerk of Court for Wake County, North Carolina and in any other jurisdiction in which said
   Defendants may have assets.
           NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that the
   Plaintiff is hereby granted judgment against the Defendants, Tri-City Service, LLC and Yehia
   Shaaban Ahmed Hussein aka Yehia Hussein, jointly and severally, in the sum of Eight Hundred
   Two Thousand Four Hundred Eighty and 24/100 ($802,480.24) Dollars; provided that
   Defendants are entitled to credit for any payments made to Plaintiff, which payments, if any,
   together with the current amount of the judgment, are stated in the Affidavit attached hereto.
   The Clerk of Court for Wake County, North Carolina is hereby authorized to enter judgment
   against Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia Hussein, jointly
   and severally, in the amount stated in the attached affidavit.




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    JUDGMENT CONFESSED AND ADMITTED.

    Yehia Shaaban Ahmed Hussein
    aka Yehia Hussein

    Signature:                                                  Date:      VAN




    STATE OF NORTH CAROLINA

    COUNTY OF WAKE

           I, the undersigned Notary Public in and for the County and State aforesaid, do hereby certify
   that Yehia Shaaban Ahmed Hussein aka Yehia Hussein, personally appeared before me this day and
   acknowledged the due execution of the foregoing instrument.

           WITNESS my hand and official stamp or seal this iva day of              202f
                                                              CATHERINE HUMMEL
                                                                NOTARY PUBLIC
                                               (SEAL)           ORANGE County
   Notary Public for North Carolina                               North Carolina
   My Commission Expires:    &            aS             My Commission Expires 02/17/2025


                     [ADDITIONAL SIGNATURE ON FOLLOWING PAGE]


   Tri-City Service, LLC


                                      a

   By:
   (Print Name)

   Its: Managing Member

   Date:

   STATE OF NORTH CAROLINA

   COUNTY OF WAKE

           I, the undersigned Notary Public in and for the County and State aforesaid, do hereby certify
   that Yehia Shaaban Ahmed Hussein aka Yehia Hussein, the duly authorized Managing Member of


                                                     2
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   Tri-City Service, LLC, personally appeared before me this day and acknowledged the due execution
   of the foregoing instrument.

             WITNESS my hand and official stamp or seal this \& day of               2028f


                                                 AL)                CATHERINE HUMMEL
   Notary Public for North Carolina                                   NOTARY PUBLIC
                                                                      ORANGE County
   My Commission Expires:                                              North Carclina
                                                             My   Commission Expires 02/17/2025




                                                        Yehia Shaaban Ahmed Hussein
                                                        aka Yehia Hussein



   SWORN TQ AND SUBSCRIBED before
   me this
        |    day of November, 2023.

                                                             CATHERINE HUM
   Notary Public, State of                                     NOTARY PUBLIC
   My commission expires:                                      ORANGE County
                                                                North Carolina
                                                                               02/1 7/2025
                                                        Myy Commission Expires




                                                    3
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                                  EXHIBIT C
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     ALJ 2403030 1 N050                             EXHIBIT E
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     NORTH CAROLINA                                                  IN THE GENERAL COURT OF JUSTICE


     WAKE COUNTY                                                     BEFORE THE CLERK


                                                                     24 SP |(*&2

     IN THE MATTER OF THE FORECLOSURE OF A DEED OF TRUST

     EXECUTED BY YEHIA SHAABAN AHMED HUSSEIN AND
     MOSHIRA HASSANA AHMED                    HUSSEIN   A/K/A MOSHIRA
     HASSANA AHMED HUSSEN                    DATED January IS, 2024 AND
     RECORDED IN BOOK 19529, PAGE 1424, WAKE COUNTY
     REGISTRY, TO         LEE H. NANNEY, ESQ., TRUSTEE.



                                                 AFFIDAVIT OF PETITIONER


              The undersigned, being first duly sworn, deposes and says:


             1. L&W SUPPLY CORPORATION is the holder of a Consent Judgment and the above-referenced Deed
                                                                                                          of
    Trust executed by YEHIA SHAABAN AHMED HUSSEIN AND MOSHIRA HASSANA AHMED HUSSEIN
                                                                                                     A/K/A
    MOSHIRA HASSANA AHMED HUSSEN (hereinafter Respondents), Attached hereto are true and accurate
                                                                                                   copies of
    the Consent Judgment and Deed of Trust executed by the Respondent(s).



             2. The Consent Judgment and Deed of Trust are in default. As of the date of this Affidavit, the specifics of
                                                                                                                            the
    default are as follows:


                       a. Months Past Due:                       or Date Loan Matured:     5 /v /Joan
                       b. Amount Past Due (excluding fees and costs): ^

                       c. Outstanding Payoff Balance (excluding attorneys fees/costs): $ (p I                  3<~{

             3 . Demand has been made upon the Respondents) to either cure the default or pay the loan in full, but the
    Respondent(s) have failed to take the action necessary to do either.


             4. Because of the default, L&W SUPPLY CORPORATION has exercised its rights under the provisions
                                                                                                                       of
    the Note and Deed of Trust, has declared the entire unpaid balance of principal and interest to be immediately
                                                                                                                   due
    and payable, and has exercised the right of foreclose under the terms of the Deed of Trust.



             5. Jeff D. Rogers has been substituted as Trustee under the terms of the Deed of Trust for the purpose of
    foreclosing the property described in the Deed of Trust pursuant to the power of sale contained therein.


             6. To the best of my knowledge and belief, the Respondent(s) are under no legal disability nor in the active
    military service of the United States.


             7. The debt evidenced by the Note:


                      [   ] IS A HOME LOAN as defined by N.C.G.S. §45-101(lb) as shown by the
                      attached certificate from the N.C. Housing Finance Agency. The required 45
                      day notice under N.C.G.S. §45-102 has been given to the Respondent(s) and said
                      notice is attached hereto.




            Electronically Filed Date: 9/23/2024 3:31 PM Wake County Clerk of Superior Court
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                                  [ X ] IS NOT A HOME LOAN as defined by N.C.G.S. §45-101(
                                                                                           lb)                because:


                                           [ ] the loan has been so designated as shown by the attached
                                           certificate from the N.C. Housing Finance Agency;


                                           [ X ] the loan is a commercial loan;


                                           [   ] the loan is not secured by the principal dwelling of the
                                          Respondent(s);


                                           [   ] the loan was not incurred by the borrower primarily for personal,
                                                                                                                         family, or household
                                          purposes;




                                          [    ] the property securing the loan is a vacant lot;


                                          [    ] the loan is an equity line of credit as defined by N.C.G.S.
                                          §24-9(a)(2)


                       8. Prior to commencing foreclosure, it is the normal and customar
                                                                                          y practice of the Petitioner to attempt
              contact with the Respondent(s). The purpose of this contact is to
                                                                                inform the Respondent(s) of the default on the loan
              and to determine if there are options available to cure the default.
                                                                                    The loan file of the Respondents) reflects that
              letter(s) were written to the Respondent(s) advising of the default
                                                                                   and the action needed to cure the default. Further, if
              the loan was deemed a home loan, the required notice was provided
                                                                                     to the Respondent(s) and at least 45 days passed
              before foreclosure was commenced.


                       9. The Petitioner used reasonable efforts to address the loan default
                                                                                             with   the Respondent(s) prior to
              commencing foreclosure. The Respondent(s) took no action
                                                                       acceptable to the Petitioner          to cure the default and the
              loan remains in arrears as set forth above.



                      10. I am familiar with the loan accounts of the Petitioner, how
                                                                                       those accounts are maintained, and I have
             regular access to those accounts as a part of my job. More particular
                                                                                   ly, I am familiar with the account of the
             Respondents) in this action and I have the authority to execute this
                                                                                  affidavit   on behalf of the Petitioner.
                                   ft.             A


            iMmStlhe — d™ of Auyst                                              2024.


                                                             L&W SUPPLY CORPORATION
                          %
                          *

                          m

%                                                            By:      7 ^ ^2r
                                                               Lee.       H-
    '/                                                       Title:   A-H-vruty

             Sworn to and subscribed before me this            day of
                                                                               i                        , 2024.



             c
             Notary Public
             My Commission Expires:      Q~1   /W             2=

             This communication is from a debt collector. The purpose of this communi
                                                                                     cation is to collect a debt. This is an
             attempt to collect a debt, and any information obtained will be
                                                                               used for that purpose.
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                                                                                                                                       WAKE COUNTY, NC   56
                                                                                                                                       TAHMY L. BRUNNER
                                                                                                                                       REGISTER OF DEEDS
                                                                                                                                       PRESENTED 8 RECORDED ON
         This the              day of                                                  .. 2023.                                        61V31V2024 14:14:32
         Signed:

         Title:
                                                                                                                                  BOOK:019529 PAGE:01424 - 61428
       Tax Lot No..
                                                                                                                Parcel Identifier No.             1)638924568
       Verified by                      Wake                                                                  County on the              day of                             2023.
       by




         Mail after recording to l.ceH. Nanncv. Esq 55 Bcallic Place. Suite 1200, Greenville, SC 2960
                                                                                                                                                          ENV
                                                                                                                                  1        &• /3oV ^^ 58 ?
         This instrument was prepared by                                Lee H. Nannev. Esq
                                                                                                                                                   (Without title examination)
         Brief description for the Index



        Being that real property located in Wake County, North
                                                                                           Carolina located 105 Blue Granite Drive, Holly Springs,
                                                                                                                                                                NC 27540, and more
        specifically described with the Wake County, North Carolina
                                                                    Register                                    of Deeds (the "Rear Property") as Parcel ID# 0638924568.


                                                      NORTH CAROLINA DEED OF TRUST
      THIS DEED OF TRUST made this                                            dav of                   December                       2023, by and between
                           GRANTOR                                                        TRUSTEE                                                 BENEFICIARY


        Yehia Shaaban Ahmed Hussein aka                             Lee K. Nanney, Esq.                                       L&W Supply Corporation
        Yehia Hussein                                               Gallivan, White & 3oyd, P. A.                             5000 Trademark Drive
        and                                                         55 Beattie Place, Suite 1200                              Raleigh, NC 27610
        Moshira Hassana Ahmed Hussein                               Greenville, SC 29601
        1 05 Blue Granite Drive, Holly
        Springs, NC 27540



       Enter in appropriate block for each party; name, address,
                                                                 and, if appropriate, character of entity, e.g.,                                  corporation or partnership.
     The designation Grantor, Trustee and Beneficiary as
                                                                                   used herein shall include said parties, their heirs, successor
                                                                                                                                                            s, and assigns, and shall
     include singular, plural, masculine, feminine or neuter as
                                                                                           required by context.

     WITNESSETH, that whereas the Grantor is indebted
                                                           to the Beneficiary in the principal sum of Eight Hundred
                                                                                                                      Two Thousand Four
     Hundred Eighty and 24/100 ($802,480.24) Dollars, as evidence
                                                                  d by a Settlement Agreement of even date herewith, the
                                                                                                                         terms of which are
     incorporated herein by reference.


     NOW, THEREFORE, as security for said indebtedness,
                                                                                      advancements and other sums exnended by Beneficia
                                                                                                                                        ry pursuant                    to this Deed of
     Trust and costs of collection (including reasonable attorneys
                                                                                                     ' fees) and other valuable consideration, the receipt of
                                                                                                                                                                     which is hereby
     acknowledged, the Grantor has bargained, sold, givert, granted
                                                                      and conveyed and does by these presents bargain, sell, give,
                                                                                                                                   grant and
     convey to said T rastee, his heirs, or successors, and assigns
                                                                the paicelfs) of land situated in Holly Springs. Wake County,
                                                                                                                              North Carolina,
     (the "Premises") and more particularly described as follows:




                              Being ail of Lot 21. Stonemount Subdivision, Phase 1, as shown
                                                                                             in Book of Maps 2017, Pages 962-967, Wake County
                              (NC) Registry; reference to which Plat is hereby made for a
                                                                                          more particular description of said Property.

                              The above-described Property being all of that property conveyed
                                                                                                                          in that deed recorded in Record Book 01 685, at Pages
                              00297-00298 to of the Wake County . NC Register's Office.

                              Parcel ID# 0638924568




    TO HAVE AND TO HOLD said Premises with all privileges
                                                                                      and appurtenances thereunto belonging to said Tnistee, his
                                                                                                                                                         heirs, successors, and assigns

    N.C. BAR Assoc. Form No, 5 B 1976   Prinlcd by Agreement wilh the N.C Bar Association - 1 9R
                                                                                                 I
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         forever, upon the trusts, terms and conditions and for theuses hereinafter
                                                                                                     set forth

          [f the Grantor shall pay Ihc Note secured hereby in accordance wish its
                                                                                       terms, together with interest thereon, and any renewals or extensions thereof
         whole or in part, all other sums secured hereby and shall comply with til                                                                                          in
                                                                                       of the covenants, terms ar.d conditions of this Deed ofTrust, then this conveyance
         shall be null and void and maybe cancelled of record ut the request
                                                                                     3nd the expense of the Grantor. If, however, there shall be any default
                                                                                                                                                                   (a) in the
         payment of any sums due under the Note, this Deed ofTrust or any other
                                                                                        instrument securing the Note and such default is not cured within ten (1
                                                                                                                                                                     0) days
         from the due date, or (b) if there shall be default 111 any of the other covenants,
                                                                                              terms or conditions of the Note secured hereby, or any failure or neglect
         comply with the covenants, terms or conditions containec in this Deed ofTrust                                                                                      to
                                                                                                 or any other instrument securing the Note and such default is not cured
         within fifteen (15) days after written notice, then and in any of such events,
                                                                                           without further notice, it shall be lawful for and the duty of the Trustee, upon
         request ofthe Beneficiary, to sell the land herein conveyed at public auction
                                                                                            for cash, after having first giving such notice ofnearirig as to commencem
                                                                                                                                                                          ent
         of foreclosure proceedings and obtained such findings or leave of coon as
                                                                                         may then be required by law and giving such notice and advertising the time
         place of such sale in such manner as may then be provided by law, and                                                                                           and
                                                                                        upon such and any resatits nnd upon compliance with the law then relating
         foreclosure proceedings under power of sale to convey title to the purchaser                                                                                       to
                                                                                           in as full and ample manner as the Trustee is empowered. The Trustee shall
         authorized to retain an attorney to represent him in such proceedings.                                                                                            be


        The proceeds ofthe Sale shall after the Trustee retains his commission, together
                                                                                                          with reasonable attorneys fees incurred by theTrustce in such proceeding,
        be applied to the costs of sale, including, but not limited to, costs of collection,
                                                                                                                 taxes, assessments, costs of recording, sen/ice fees and incidental
        expenditures, the amount due on the Note hereby secured and ad\ ancements
                                                                                                         and other sums expended by the Beneficiary according to the provisions
        hereof and otherwise as required by the then existing law relating to foreclosures
                                                                                             . The Trustee's commission shall be five percent (5%) of the gross
        proceeds of the sale or the minimum sum of $40, 124.00, whichever is greater,
                                                                                       for a completed foreclosure. In the event foreclosure is commenced, but not
        completed, the Grantor shall pay all expenses incurred by Trustee, including
                                                                                     reasonable attorneys' fees, and a partial commission computed on five percent
        (5%) of the outstanding indebtedness or the above stated minimum sum,
                                                                                   whichever is greater, in accordance with the following schedule, to-wit:
        lburth                                                                                                                                               one-
                ('/) thereof before the Trustee issues a notice of heating on the right
                                                                                        to foreclosure, one-half i'/i) thereof after issuance of said notice; three-fourth
                                                                                                                                                                           s
        f Va) thereof after such hearing, and the greater ofthe foil commission
                                                                                    or minimum sum tiller the initial sale.

        And the said Grantor does hereby covenant and agree with the Trustee
                                                                                                  as follows:

        1 . INSURANCE. Grantor shall keep all Ttprovements on said land, now
                                                                                 or hereafter erected, constantly insured for the benefit of the Beneficiary
                                                                                                                                                             against
        loss by fire, windstorm, and such other casualties and contingencies,
                                                                              :n such manner and in such companies and for such amounts, not less
                                                                                                                                                           than thai
        amount necessary to pay the sum secured by this Deed ofTntst, and as nay
                                                                                      be satisfactory to the Beneficiary, Grantor shall purchase such insurance, pay
        all premiums therefore, and shal I deliver to Beneficiary such policies along
                                                                                      with evidence of premium payment as longas the Note secured hereby remains
        unpaid. If Grantor fails to purchase such insurance, pay premiums therefore
                                                                                       or deliver said policies along with evidence of payment ofpremiums thereon,
        then Beneficiary, at his option, may purchase such insurance. Such amounts paid
                                                                                            by Beneficiary shall be added to the principal ofthe Note secured by this
        Deed ofTrust,   and shal! be due and payable upon demand o: Beneficiary. All proceeds
                                                                                                                   from any insurance so maintained shall atthe option ofBeneficiary
        be applied to the debt secured hereby and if payable in installments, applied
                                                                                                         in the inverse order of maturity of such installments or to the repair or
        reconstruction of ury improvements located upon the Properly.


     2 TAXES, ASSESSMENTS, CHARGES. Grantor shall pay all taxes,
                                                                              assessments and charges its may be lawfully levied against said Premises
     thirty (30) days after the same shall become due. In the e> ent that Grantor                                                                         within
                                                                                    fails to so pay all taxes, assessments and charges as herein required,
     Beneficiary, at his option, may pay the same and lite amounts so paid shall                                                                            then
                                                                                 be added to the principal of the Note secured by this Deed ofTrust, and
     due and payable upon demand of Beneficiary.
                                                                                                                                                         shall be


     3. ASSIGNMENTS OP RENTS AND PROFITS. Granto • assigns
                                                           to Beneficiary, in the event of default, all rents and                                      profits from the land and any
     improvements thereon, and authorizes Beneficiary to enter upon and take possession
                                                                                                                 of such land and improvements, to rentsame, at any reasonable rate of
     tent determined by Beneficiary, and after deducting from any such rents
                                                                                                   the cost of reletting and collection, to apply the remainder to the debt
     hereby.
                                                                                                                                                                                secured


     4     PARTIAL RELEASE. Grantor shall net be entitled to th ; partial release
                                                                                  of any of the above described                       property unless a specific provision providing
    therefore is included in this Deed ofTrust. In the event a partial release provision
                                                                                         is included in this Deed ofTrust, Grantor must strictly comply with the
    terms thereof. Notwithstanding anything herein contained. Grantor shall
                                                                                not be entitled to any release of property unless Grantor is not in default and
    full compliance with                                                                                                                                        is in
                                all ofthe terms and provisions ofthe Note, this Deed of Trust, and any
                                                                                                                          oilier instrument (hat may be securing said Note.

    5. WASTE. The Grantor covenants that he will keep the Premises
                                                                        herein conveyed in as good order, repair and condition as they are
                                                                                                                                                now, reasonable
    wear and tear excepted, and will comply with all governmental requiremen
                                                                              ts respecting the Premises of their use, and that lie will not commit
                                                                                                                                                    or permit any
    waste.


    6. CONDEMNATION. In the event thai any or all of the Premises
                                                                  shall                           ae condemned and taken under the power of eminent domain, grantor
                                                                                                                                                                              shall give
    immediate written notice to Beneficiary and Beneficiary shall have the right
                                                                                 to receive and collect all damages awarded by reason of such taking, and
    right to such damages hereby is assigned to Beneficiary who shall have                                                                                 the
                                                                                the discretion to apply die amount so received, or any part thereof, to
                                                                                                                                                           the
    indebtedness due hereunder and if payable in installments, applied in the
                                                                               inverse order of maturity of such installments, or to any alteration, repair
    restoration of the Premises by Grantor,                                                                                                                 or


    7. WARRANTIES. Grantor covenants with Trustee and Beneficiary
                                                                                              that he is seized of the Premises in fee simple, has the right to convey
                                                                                                                                                                         the same in fee
    simple, that title is marketable and free and clear of all encumbrances. and
                                                                                                  that he will warrant and defend the title against the lawful claims of all persons
    whomsoever, except for the exceptions hereinafter stated.




    8     SUBSTITUTION OF TRUSTEE.                  Grantor and Trustee covenant anc agree to and with Beneficiary
                                                                                                                                     that in case the said Trustee, or any successor


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      trustee, shall die, become incapable of acting, renounce bis
                                                                    trust, or fcrany reason the holder the Note desires to replace
                                                                                                                                   said Trustee, then the holder may
      appoint, in wriling, a trustee to take the place oflhe Trustee;
                                                                      and upon the probate and registration ol'the same, the trustee
      all rights, powers and duties of the Trustee.                                                                                  thus appointed shall succeed to


           THE FOLLOWING PARAGRAPH, 9. SALE OF PREMIS
                                                                                                 ES, SHALL NOT APPLY UNLESS THE BLOCK TO
                                                                                                                                                                     THE LEFT MARGIN OF
               THIS SENTENCE IS MARKED AND/OR INITIAL
                                                                                            ED.

      9. SALE OF PREMISES. Grantor agrees that if the Premises
                                                               or any part thereof or                                     interest therein is sold, assigned, transferre
                                                                                                                                                 d, conveyed or otherwise
     alienated by Grantor, whether voluntarily or involuntarily or
                                                                        by operation of law [other than: (i) tf c creation of a lien or other
     this Deed of Trust which docs not relate to a transfer of rights                                                                          encumbrance subordinate to
                                                                           of occupancy in the Premises; (ii) the creation of a purchase
     household appliances; (iii) a transfer by devise, decent or                                                                               money security interest for
                                                                      operation of law on the death of a joint tenant or tenant by
     leasehold interest of three (3) years or less not containing                                                                         the entirety; (vi) the grant of a
                                                                    an option to purchase; (v) a transfer to a relative resulting
                                                                                                                                      from the death of a Grantor; (vi) a
     transfer where the spouse or children of the Grantor heeone
                                                                      the owner of the Premises; (viit) a transfer resulting from a
                                                                                                                                       decree ofa dissolution in marriage,
     legal separation agreement, or from an incidental property
                                                                    settlement agreement, by which the spouse of the Grantor
                                                                                                                                     becomes an owner of die Premises;
     (viii) a transfer into an inter vivos trust in which the Grantor
                                                                       is and remains a beneficiary and which does not relate to a transfer
     the Premises], without the prior written consent of Beneficia                                                                               of rights of occupancy in
                                                                           ry, Beneficiary, at its own option, may declare the Note
                                                                                                                                            secured hereby and all other
     obligations hereunder to be forthwith dee and payable. Any
                                                                         change in the legal unequitable title of the Premises or in the
     Premises, including the sale, conveyance or disposition of a majorily                                                                    beneficial ownership of the
                                                                                 interest in the Grantor if a coiporation or partnership, whether
     whether or not for consideration, shall b? deemed to be the transfero                                                                             or not of record and
                                                                                 r an interest in the Premises.

     10. ADVANCEMENTS. If Grantor shall fail to perform
                                                                    any of the covenants or obligations contained herein or in
     additional security for the Note secured hereby, the Beneficia                                                                any other instrument given as
                                                                    ry may, but without obligation, make advances to perform
                                                                                                                                such covenants or obligations, and
     all such sums so advanced shall be added ".o the principal sum,
                                                                     shall bear interestatthc rate provided in the Note secured
     and shall be due from Grantor on demand of the Beneficia                                                                    hereby for sums due after default
                                                                   ry. No advancement or anything contained in this paragraph
                                                                                                                                     shall constitute a waiver by
     Beneficiary or      prevent such failure to perform from constituting an event of
                                                                                                               default.

     1 1 . INDEMNITY. If any suit or proceeding be brought against
                                                                     the Trustee or (3cneficiary or if at y suit or proceeding be
                                                                                                                                  brought which may affect the
     value or Idle ofthc Premises. Grantor shall defend, indemnif
                                                                  y and hold harmless and oil demand reimburse Trustee or
     damage or expense and any suras expended by Trustee or                                                                     Beneficiary from any loss, cost,
                                                             Beneficiary snail bear interest as provided in the Note secured
     aud shall be due and payable on demand.                                                                                   hereby forsums due afterdefault


     12.       WAIVERS. Grantor waives all tights to require marshalli
                                                                          ng of assets by the Trustee or Beneficiary. No delay or omission
     Beneficiary in the exercise of any right, power or remedy                                                                               of the Trustee or
                                                                 arising under the Note of this Deed of Trust shall be
                                                                                                                        deemed a waiver of any default or
     acquiescence therein or shall impair or waive the exercise
                                                                of such right, power or remedy by Trustee or Beneficia
                                                                                                                       ry at any other time.

    13.        C1VTL ACTION. In the event that the Trustee s named
                                                                             as a party to any civil action as Trustee in this Deed of Trust,
    entitled to employ an attorney at law, including himself if he                                                                            the Trustee shall be
                                                                   is a licensed attorney, to represent him in said action and the
    Trustee in sueh action shall be paid by the Beneficiary and                                                                    reasonable attorney's fee of the
                                                                  added to the principal of the Note seemed by this Deed ofTrusl
    provided in the Note for sums due after default.                                                                                   and bear interest at the rate


     14.          PRIOR LIENS. Default under the terms of any instrument
                                                                         secured by a lien to which                                  this Deed ofTrusl is subordinate shall constitute default
    hereunder.


    15.           OTHER TERMS.




     IN WITNESS WHEREOF, the Grantor ha; hereunto set
                                                              his hand and seal, or if corporate, has caused this instrumen
                                                                                                                           t to be signed in its corporate name by
    its duly authorized officers and its seal to be hereunto affixed
                                                                     by authority of its Board of Directors, the day and year first
                                                                                                                                     above written.



                                                                                                                                                                                 (SEAL)
                                                                                                         USE
                                                                                                                      Yehia Shaabau Ahmed Hussein
                                                                                                        BLACK
                                                                                                         TNK
                                                                                                        ONLY
      ATTEST;

                                                                                                                                                                                 .(SEAL)
                                                                                                                      Moshira Hassana AJrmed Hussein



     By:
                                                           Secretary




     SEAL-STAMP                            NORTH CAROLINA,
                                                                                                                    County.


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                                                                                              - |4X |
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      CATHERINE HUMMEL.                                 ^ a Notary Publ ic of the County and State aforesaid, certify that on this thJ^S        day of . "\ /I jC\
         NUIAKT r                                                                                                                                                       , 202'
                                                                                                                                                                                      J
                                                       peliia Shaaban Ahmed Hussein (Grantor),                 personally known to me or Dproven by satisfactory evidence  (sai
         ORANGE County                                 :vidence being .                   •      .      ~
                                                                                                                 personally appeared before me this day and acknowledged die
           North Carolina                              execution of the foregoing instrument.
                                                                                                                                                          .
My Commission Expires 02/17/2025 Witness my hand and notarial stamp or seal, tins'                                   day of O <Tti               . 202
                                                      My Commission Expires:
                                                                                                                                                 4j U-m                   )
                                                                                                                              A                                        iary Public
             SEAL-STAMP                               NORTH CAROLINA^LA*'                                         County.                                . , -
                                                      1, a Notary Public of the County aud State aforesaid, certify that on this the J C\
                                                                                                                                                day of O                        , 202
      CATHERINE HUMMEL
        NOTARY PUBLIC
                                                . ,
                                               §?.
                                                       vtoshira Hassana Ahmed Hussein (Grantor). O oersonally known to me or Dproven
                                                       tvidence being
                                                                                                                                                         by satisfactory evidence (sai
                                                                                                                 oersonally appeared before me this day and acknowledged the
                                                                                                                                                                                      7
        ORANGE County                        * yer     ixecution of the foregoing instrumen*. _                            _
         North Carolina                                A/itness my hand and notarial stamp or seal, this             day oM                      , 202
My Commission Expires 02/17/2025 I
                                                      My Commission Expires:

                                                                                                                                                                        aif/ Public
          The foregoing Certificate(s) of




          is/are certified to be correct. This instrument and this certificate are duly registered
                                                                                                                 at the date and time and in the Book and Page shown on the first page
          hereof.


                                                                                                     REGISTER OF DEEDS FOR                                    COUNTY
          By_                                                                       .Deputy /Assistant-Register of Deeds




         N.C, BAR Assoc. Form No. 5 B 1976        Pnnlcd by Agreement wnh (hi* N.C. Bar Assoda ion - I9K]
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             WAKE
              COUNTY
              NORTH CAROLINA




                            Please retain yellow trailer page
          It is part of the recorded document and must be submitted with the original for re-

                                               recording.



                                      Tammy L. Brunner
                                       Register of Deeds
                                      Wake County Justice Center
                                 300 South Salisbury Street, Suite 1700
                                           Raleigh, NIC 27601




                          New Time Stamp               D $25 Non-Standard Fee
                          Additional Document Fee      D Additional Reference Fee


         This Customer Group                           This Document

                 # of Excessive Entities
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                 # of Time Stamps Needed
                                                                if
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       STATE OF NORTH CAROLINA FILED         IN THE GENERAL COURT OF JUSTICE
                             DATE: May 16, 2024 SUPERIOR COURT DIVISION
       COUNTY OF WAKE        TIME:2:32:52 PM          24CV0 14270-9 10
                                        WAKE COUNTY
       L&W Supply Corporation,          CLERK OF SUPERIOR COURT
                                        BY: M. Brann
              Plaintiff,                                       ENTRY OF CONFESSION OF
                                                                          JUDGMENT
      v.




      Tri-City Service, LLC and Yehia Shaaban
      Ahmed Hussein aka Yehia Hussein,


              Defendants.



            IT IS ORDERED, ADJUDGED, AND DECREED that,
                                                       based upon the Confession of

     Judgment filed and entered into the Court's records on May
                                                                8, 2024   and attached hereto as Exhibit

     A, Plaintiff is hereby granted judgment against Defendants
                                                                Tri-City      Service, LLC and Yehia

     Shaaban Ahmed Hussein aka Yehia Hussein, jointly and severall
                                                                     y, in the amount of Eight Hundred

     Two Thousand Four Hundred Eighty and 24/1 00 ($802,480.24)
                                                                   Dollars pursuant to North Carolina

     Rule of Civil Procedure 68.1(d).



            IT IS SO ORDERED.




            This              day of     5/16/2024       , 2024.




                                                Clerk of Superior Court




                                                     1
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            EXHIBIT A
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  f

                                                                       24CV01 4270-910



       STATE OF NORTH CAROLINA                        )    IN THE GENERAL COURT OF JUSTICE
                                                       )
       COUNTY OF WAKE                                            DISTRICT COURT DIVISION
                                                       )
                                                       )
                                                       )
       L&W Supply Corporation,                         )
                                                       )
                                                       )
                      Plaintiff,                      )        CONFESSION OF JUDGMENT
                                                      )
                                                      )
                                                      )
                                                      )
                                                      )
              v.
                                                      )
                                                      )
       Tri-City Service, LLC and Y ehia Shaaban       )
       Ahmed Hussein aka Yehia Hussein,               )
                                                      )
                                                      )
              Defendants.                             )
                                                      )


             WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia
      Hussein are legally obligated and indebted, jointly and severally, to L&W Supply Corporation
      ("Plaintiff") in the sum of Eight Hundred Two Thousand Four Hundred Eighty and 24/100
      ($802,480.24) Dollars;
              WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia


      Hussein, have agreed to confess judgment, jointly and severally, to Plaintiff in the sum of Eight


      Hundred Two Thousand Four Hundred Eighty and 24/100 ($802,480.24) Dollars; and


             WHEREAS, Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia
      Hussein further authorize Plaintiff to enter and file this Confession of Judgment in the Office of
      the Clerk of Court for Wake County, North Carolina and in any other jurisdiction in which said
      Defendants may have assets.
             NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND                          DECREED that the
      Plaintiff is hereby granted judgment against the Defendants, Tri-City Service, LLC and Yehia
      Shaaban Ahmed Hussein aka Yehia Hussein, jointly and severally, in the sum of Eight Hundred
      Two Thousand    Four Hundred Eighty and 24/100 ($802,480.24) Dollars; provided that
      Defendants are entitled to credit for any payments made to Plaintiff, which payments, if any,
      together with the current amount of the judgment, are stated in the Affidavit attached hereto.
      The Clerk of Court for Wake County, North Carolina is hereby authorized to enter judgment
      against Tri-City Service, LLC and Yehia Shaaban Ahmed Hussein aka Yehia Hussein, jointly
      and severally, in the amount stated in the attached affidavit.




              Electronically Filed Date: 5/8/2024 10:46 AM Wake County Clerk of Superior Court
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        JUDGMENT CONFESSED AND ADMITTED.


        Yehia Shaaban Ahmed Hussein
        aka Yehia Hussein


       Signature:                                                       Date:




       STATE OF NORTH CAROLINA
                                                        )
                                                        )
       COUNTY OF WAKE
                                                        )

              I, the undersigned Notary Public in and for the County and Slate aforesaid, do hereby
                                                                                                    certify
       that Yehia Shaaban Ahmed Hussein aka Yehia Hussein, personally appeared before
                                                                                           me this day and
       acknowledged the due execution of the foregoing instrument.


               WITNESS my hand and official stamp or seal this            day             202^
                                                                     CATHERINE HUMMEL
                                                  .(SEAL)               NOTARY PUBLIC        -
       Notary Public for North Carolina                                 ORANGE County
                                                                         North Carolina
       My Commission Expires: pt, - I "7 - 9^*5
                                                                My Commission Expires 02/17/2025


                         [ADDITIONAL SIGNATURE ON FOLLOWING PAGE]



      Tri-City Service, LLC




      By:
                                          Us
      (Print Name)


      Its: Managing Member


      Date:


      STATE OF NORTH CAROLINA
                                                    )
                                                    )
      COUNTY OF WAKE
                                                    )

             1, the undersigned Notary Public in and for the County and State aforesaid, do hereby
                                                                                                   certify
      that Yehia Shaaban Ahmed Hussein aka Yehia Hussein, the duly authorized Managing
                                                                                              Member of


                                                            2
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       Tri-City Service, LLC, personally appeared before me this day and acknowledged the due execution
       of the foregoing instrument.


              WITNESS my hand and official stamp or seal this         day of3"Q^Y"~) , 202



                                                     AL)                 CATHERINE HUMMEL
       Notary Public for North Carolina          _                         NOTARY PUBLIC        .
       My Commission Expires:         * 11                                 ORANGE County
                                                                           North Carolina
                                                                   My Commission Expires 02/17/2025




                                                               Yehia Shaaban Ahmed Hussein
                                                               aka Yehia Hussein




      SWORN TO AND SUBSCRIBED before
                                                                     <hr—\
      me this I q day of November, 2023.

                                                           —       CATHERINE HUMMEL
      Notary Public, State of      CL-     '                         NOTARY PUBLIC
      My commission expires!      ~ ) ~J •y^c>                       ORANGE County
                                                                      North Carolina
                                                           My Commission Expires 02/17/2025




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                                                                         WAKE COUNTY,                           NC
                                                                                             TAMMY L. BRUNNER
                                                                                             REGISTER OF DEEDS
                                                                                             PRESENTED & RECORDED ON
                                                                                             08-02-2024 AT 13:56:48



                                                                                             BOOK: 019677 PAGE: 00838 - 00839




          ALJ 24030301 N013


          Drawn By and Mail To: Jeff D. Rogers, Attorney at Law Mail
                                                                     to: SMITH DEBNAM NARRON
          DRAKE SAINTSING & MYERS, L.L.P.,PO Box 176010,
                                                                 Raleigh, NC 27619-6010


                                              SUBSTITUTION OF TRUSTEE

          This Substitution of Trustee is made this the   10th day of         June      . 2024, by L&W SUPPLY
          CORPORATION, party of the first part, to Jeff D. Rogers
                                                                          , Substitute Trustee, party of the second part.
         The designations "party of the first part" and "party of the
                                                                         second part" as used herein shall include
          singular, plural, masculine, feminine, or neuter as required
                                                            by the context.
                                                    WITNESSETH:

                 WHEREAS the party of the first part is holder of all of the
                                                                             indebtedness secured by a certain
         deed of trust executed by YEHIA SHAABAN AHMED HUSSE
                                                                         IN AND MOSHIRA HASSANA
         AHMED HUSSEIN A/KJA MOSHIRA HASSANA AHMED
                                                                      HUSSEN, to LEE H. NANNEY, ESQ.,
         Trustee, dated January 18, 2024, and recorded in Book 19529,
                                                                       at Page 1424, in the office of the Register
         of Deeds of WAKE County, North Carolina; and


                 WHEREAS the party of the first part is desirous of appointi
                                                                                ng a substitute trustee in the place
         and stead of the trustee named in the above-referred to deed
                                                                      of trust;

                  NOW THEREFORE pursuant to the authority of granted
                                                                                on Section 45-10 of the General
         Statutes of North Carolina, and other applicable law, the party
                                                                           of the first part hereby appoints the party
         of the second part to be the Substitute Trustee in the above-r
                                                                        eferred deed of trust in the place and stead of
         the trustee originally therein designated, with all the powers
                                                                        duties and obligations conferred in said deed
         of trust upon the trustee originally named therein.




            submitted electronically by "smith Debnam Narron
                                                             Drake Saintsing & Myers , LLP"
            in compliance with North Carolina statutes governi
            and the terms of the submitter agreement with the ng recordable documents
                                                              wake County Register of                Deeds.
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                   IN TESTIMONY WHEREOF, the party of the first part has caused
                                                                                            this instrument to be
           executed in its corporate name by its President, Vice President or other
                                                                                      authorized individual with
           approval of its Board of Directors first duly given, the day and year
                                                                                 first above written

          L&WSUj               CORPORATION



          By:


          Title:




          STATE OF S()xJk
            Q&41Wjjlg COUNTY

                   I,   the   undersigned,       a Notary   Publicfor the state and county aforesaid, certify that
                                  CTW        ^               (Name) personally came before me this day and acknowledged
          that &)/she is the                                (Title) of L&W SUPPLY CORPORATION and that he/she, in
          said capacity, and by the authority duly given and as the act of the
                                                                                  corporation, executed the foregoing on
          behalf of the corporation.


                   Witness my hand and official stamp or seal, this      joA     day of
                                                                                              'MaC*—*

                                                                 Notary Public


                                                                                                                              i « :
                                                                 P&hiLjo* C. fxectch^a
                                                                 (print name)                            '                 V* O-/

                                                                My commission expires:        /0
                                                                                                 'M£
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QVB  V V GALLIVAN WHITE BOYD
                                                                                                                    Lee H. Nanney
                                                                                                                            Attorney
                                                                                                      Direct Line: 864-241-7019
                                                                                                    lnanney@GWB lawfirm.com
Complex experiencefor complex matters




                                                           August 2, 2024
       Yehia Shaaban Ahmed Hussein
       Moshira Hassana Ahmed Hussein,
       a/k/a Moshira Hassana Ahmed Hussen
       105 Blue Granite Drive
       Holly Springs, NC 27540


                          Re:     Debt to L&W Supply Corporation
                                  Account Number xxxxx5001


       To: Yehia Shaaban Ahmed Hussein and
           Moshira Hassana Ahmed Hussein, a/k/a Moshira Hassana Ahmed Hussen:


                The following information is being sent to you in compliance with North Carolina law.


                Amount of Principal and Interest we
                claim due as of the date of this Notice:               S615.858.34


                Daily Interest charge based on the contract
                rate as of the date of this Notice:                    5121.28

                Amount of other fees, expenses, charges,               $0.00
                or other disbursements that we in good
                faith believe are due as of the date
                of this notice:


                The amount we claim is in arrears as of                $615.858.34
                the date of this Notice:



          This Notice is not intended to replace or alter the terms of any demand or acceleration letter previously mailed to
       you. Also, you should refer to the loan documents for information concerning your right, if any, to cure the default.


                If you have any questions concerning the information provided in this Notice, you may contact us at the
       following address and telephone number:


       L&W Supply Corporation
       c/o Lee H. Nanney
       Attorney at Law
       55 Beattie Place
       Suite 1200
       Greenville, SC 29601
       Phone: 864-241-7019


                                                              By:



       This communication is from a debt collector. The purpose of this communication is to collect a debt. This is an attempt
       to collect a debt, and any information obtained will be used for that purpose.
